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UNITED STATES DISTRICT AND BANKRUPTCY
COURTS FOR THE DISTRICT OF COLUMBIA

 

HENRY OVIEDO
1440 Georgianna Lane
Owings, MD 20736
410-257-5423

Case: 1:16-cv-01883 Jury Demand
Assigned To : Chutkan, Tanya S.
Assign. Date : 9/20/2016

Description: Employ. Discrim. (H Deck)

V.
CIVIL ACTION
Washington Metropolitan Area
Transit Authority (WMATA)
600 Fifth Street, NW
Washington, DC 20001

COMPLAINT

Plaintiff Henry Oviedo (“Henry”) complains against Defendant Washington
Metropolitan Area Transit Authority (“WMATA”) as follows:

1. Henry is a Professional Engineer hired by WMATA in August 1, 1999, as a
Project Manager with grade/pay 14. Henry retired from WMATA on April
1, 2015, at the same job classification and grade.

2. WMATA is the second largest mass transportation authority in the United
States providing passenger services in Virginia, Maryland, and Washington,
District of Columbia.

3. WMATA denied Henry any promotion in about 15 (fifteen) engineering jobs
opening that Henry applied for during his 16 years of service.

4. In 2014, WMATA hiring manager, Mr. John Thomas, refused to interview
Henry to compete for promotion against others candidates for a position in
the Construction Department, although WMATA Human _ Resources
Department had approved Henry as a well-qualified candidate for that

engineering position. R E C F I V cE D
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Clerk, US Distnet & Bankruptey
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5. WMATA continuously selected less qualified candidates, ignoring Henry’s
better qualification, his large engineering experience and better education for
each job application that Henry submitted for consideration.

6. Henry believes WMATA hiring managers discriminated against him
because they did not like the way Henry spoke English.

7. WMATA managers made derogatory remarks about Henry’s ethnicity and
his Spanish accent.

8. Henry was harassed while performing his job. WMATA Supervisor Mr.
Moustapha Ouattara demoted Henry from some of his project manager
duties because Henry complained to WMATA Civil Rights Office and to the
EEOC Washington Field Office about discriminatory practices used by
WMATA managers during the promotion and filling of engineering
vacancies.

9. Henry was degraded by comments made by his WMATA Supervisor Mr.
Moustapha Ouattara because he perceived that due to Henry’s age — 79 years
old at that time — he was not able to perform some physical work activities
as an engineer supervisor.

10.By reason of defendant’s discrimination, Henry has sustained damages in
the sum of $1,000,000 in loss of salaries, and also emotional distress and
suffermg caused by WMATA’s discrimination.

WHEREFORE, plaintiff requests judgment against defendant in the sum of
$1,000,000, with interest on such sum from August 1, 2000, for costs of this
action, and such other and further relief as this court deems just and proper.

WHEREFORE, plaintiff demands a preliminary and permanent injunction,
an accounting for all damages, and interest and costs.

WHEREFORE, plaintiff requests:

1. That defendant pays damages in the sum of $1,000,000;
2. That defendant be specifically ordered to recognize plaintiff's suitability
to perform the duties of his position and eligibility to be promoted;

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3. That defendant pays interest, costs, and reasonable attorney’s fees

incurred by plaintiff.
4. Plaintiff requests a trial by Jury.

September 2, 2016.

Respectfully submitted,

“Henry Oviedo
1440 Georgianna Lane

Owings, MD 20736

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